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              APPENDIX A
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                                               Does v. Reddit, Inc.
                                    United States Court of Appeals for the Ninth Circuit
              August 29, 2022, Argued and Submitted, Pasadena, California; October 24, 2022, Filed
                                                       No. 21-56293

Reporter
2022 U.S. App. LEXIS 29510 *
                                                               Judgment affirmed.
JANE DOES, No. 1-6; JOHN DOES, No. 2, 3, and 5, on
behalf of themselves and all others similarly situated,
Plaintiffs-Appellants, v. REDDIT, INC., Defendant-             LexisNexis® Headnotes
Appellee.

Prior History: [*1] Appeal from the United States
District Court for the Central District of California. D.C.
No. 8:21-cv-00768-JVS-KES. James V. Selna, District
Judge, Presiding.                                                  Business & Corporate Compliance > ... > Computer
                                                                   & Internet Law > Content
                                                                   Regulation > Communications Decency Act
Core Terms
                                                                   Criminal Law & Procedure > ... > Sexual
trafficking, sex, websites, immunity, users, child
                                                                   Assault > Abuse of Children > Elements
pornography, knowingly, subreddits, venture, posted,
platform, own conduct, defendant-website's, facilitating,
                                                               HN1[ ]   Content       Regulation,    Communications
benefits, advertising, moderators, prosecute, provider,
                                                               Decency Act
participated, unambiguous, provisions, parties, online,
sexual                                                         Pursuant to the Allow States and Victims to Fight Online
                                                               Sex Trafficking Act of 2018 (FOSTA), 47 U.S.C.S. § 230
Case Summary                                                   immunity does not apply to child sex trafficking claims—
                                                               if the conduct underlying the claim also violates 18
                                                               U.S.C.S. § 1591, the criminal child sex trafficking
Overview                                                       statute, 47 U.S.C.S. § 230(e)(5)(A).

HOLDINGS: [1]-The plaintiffs' complaint focused on the
facts critical to the website's liability—the ways that the
website made money from permitting child pornography               Civil Procedure > Appeals > Standards of
on its platform and its responses to reports of that               Review > De Novo Review
pornography; [2]-Because the gravamen of an 18
U.S.C.S. § 1595 beneficiary claim was the defendant's              Civil Procedure > ... > Defenses, Demurrers &
participation in and benefit from the trafficking scheme,          Objections > Motions to Dismiss > Failure to State
a defendant-website's own conduct had to underlie the              Claim
claim for purposes of 47 U.S.C.S. § 230(e)(5)(A); [3]-As
such, a website's own conduct must violate 18 U.S.C.S.         HN2[    ] Standards of Review, De Novo Review
§ 1591 for the immunity exception to apply; [4]-Plaintiffs
                                                               The appellate court has jurisdiction pursuant to 28
did not allege a connection between the child
                                                               U.S.C.S. § 1291. The appellate court reviews a decision
pornography posted on the website and the revenue the
                                                               on a motion to dismiss for failure to state a claim de
website generated, other than the fact that the website
                                                               novo. The appellate court takes the allegations in the
made money from advertising.
                                                               complaint as true and views them in the light most
Outcome                                                        favorable to the plaintiffs.
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                                                              1589 et seq. First, section 1595 of the TVPRA provides
                                                              a civil cause of action for violations of the federal
    Business & Corporate Compliance > ... > Computer          trafficking laws, 18 U.S.C.S. § 1595(a). It permits
    & Internet Law > Content                                  trafficking victims to sue the perpetrators of their
    Regulation > Communications Decency Act                   trafficking as well as anyone who knowingly benefits
                                                              from participation in a venture which that person knew
    Communications Law > Federal                              or should have known was engaged in sex trafficking.
    Acts > Telecommunications Act > Communications
    Decency Act

                                                                  Criminal Law & Procedure > ... > Sexual
    Computer & Internet Law > Civil
                                                                  Assault > Abuse of Children > Elements
    Actions > Defamation
                                                              HN5[   ] Abuse of Children, Elements
    Business & Corporate Compliance > ... > Computer
    & Internet Law > Civil Actions > Service Provider
                                                              18 U.S.C.S. § 1591 is the federal criminal child sex
    Liability
                                                              trafficking statute. Like 18 U.S.C.S. § 1595, section
                                                              1591 covers both perpetrators and beneficiaries of
HN3[ ]   Content        Regulation,    Communications
                                                              trafficking, § 1591(a). However, the standard for
Decency Act
                                                              beneficiary liability pursuant to section 1591 is higher: to
Pursuant to 47 U.S.C.S. § 230(c)(1), no provider or user      be held criminally liable as a beneficiary, a defendant
of an interactive computer service shall be treated as        must have actual knowledge of the trafficking and must
the publisher or speaker of any information provided by       assist, support, or facilitate the trafficking venture, §
another information content provider. In general, this        1591(e)(4).
provision immunizes providers of interactive computer
services against liability arising from content created by
third parties. In other words, it protects websites from          Business & Corporate Compliance > ... > Computer
liability for material posted on the website by someone           & Internet Law > Content
else. This protection is robust.                                  Regulation > Communications Decency Act

                                                              HN6[ ]   Content        Regulation,     Communications
                                                              Decency Act
    Business & Corporate Compliance > ... > Computer
    & Internet Law > Content
                                                              Websites are generally immune from liability for user-
    Regulation > Communications Decency Act
                                                              posted content, but that immunity does not cover civil
                                                              child sex trafficking claims if the conduct underlying the
    Criminal Law & Procedure > ... > Sexual
                                                              claim violates 18 U.S.C.S. §1591.
    Assault > Abuse of Children > Elements

HN4[ ]   Content        Regulation,    Communications
Decency Act                                                       Criminal Law & Procedure > ... > Sexual
                                                                  Assault > Abuse of Children > Elements
In 2018, Congress amended 47 U.S.C.S. § 230 by
passing the Allow States and Victims to Fight Online          HN7[   ] Abuse of Children, Elements
Sex Trafficking Act of 2018 (FOSTA). Among other
things, FOSTA provides that section 230 immunity does         For a plaintiff to invoke Allow States and Victims to Fight
not apply to certain sex trafficking claims. Pursuant to      Online Sex Trafficking Act of 2018's immunity exception,
47 U.S.C.S. § 230(e)(5)(A), nothing in section 230 shall      she must plausibly allege that the website's own
be construed to impair or limit any claim in a civil action   conduct violated 18 U.S.C.S. § 1591.
brought under section 1595 of title 18, if the conduct
underlying the claim constitutes a violation of section
1591 of that title. In turn, this provision of FOSTA
                                                                  Criminal Law & Procedure > ... > Sexual
incorporates two sections of the Trafficking Victims
                                                                  Assault > Abuse of Children > Elements
Protection Reauthorization Act (TVPRA), 18 U.S.C.S. §
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HN8[    ] Abuse of Children, Elements                         Because the gravamen of an 18 U.S.C.S. § 1595
                                                              beneficiary claim is the defendant's participation in and
The appellate court must first determine whether the          benefit from the trafficking scheme, a defendant-
language is clear and unambiguous, and if so, apply it        website's own conduct must underlie the claim for
as written. The plain text of the Allow States and Victims    purposes of 47 U.S.C.S. § 230(e)(5)(A). As such, a
to Fight Online Sex Trafficking Act of 2018 and               website's own conduct must violate 18 U.S.C.S. § 1591
precedent interpreting a similar immunity exception           for the immunity exception to apply.
establishes that a website can only be held liable if its
own conduct—not a third partys—violates 18 U.S.C.S.
§1591.
                                                                  Business & Corporate Compliance > ... > Computer
                                                                  & Internet Law > Content
                                                                  Regulation > Communications Decency Act
    Business & Corporate Compliance > ... > Computer
    & Internet Law > Content                                      Communications Law > Federal
    Regulation > Communications Decency Act                       Acts > Telecommunications Act > Communications
                                                                  Decency Act
HN9[ ]   Content        Regulation,    Communications
Decency Act                                                       Business & Corporate Compliance > ... > Computer
                                                                  & Internet Law > Civil Actions > Service Provider
47 U.S.C.S. § 230(e)(5)(A) reads as follows: nothing in           Liability
section 230 shall be construed to impair or limit any
claim in a civil action brought under section 1595 of Title   HN12[ ] Content        Regulation,    Communications
18, if the conduct underlying the claim constitutes a         Decency Act
violation of section 1591 of that title. To ascertain the
conduct that a claim is based upon, courts should             Alongside 47 U.S.C.S. § 230(e)(5)(A), Allow States and
identify those elements of a claim that, if proven, would     Victims to Fight Online Sex Trafficking Act of 2018
entitle a plaintiff to relief and the gravamen of the         added two other trafficking-related immunity exceptions
complaint.                                                    to the Communications Decency Act: 47 U.S.C.S. §
                                                              230(e)(5)(B) and (C). Those provisions permit states to
                                                              prosecute websites if the conduct underlying the charge
                                                              would violate 18 U.S.C.S. § 1591 or 18 U.S.C.S. §
    Criminal Law & Procedure > ... > Sexual
                                                              2421A, which criminalize the facilitation of child sex
    Assault > Abuse of Children > Elements
                                                              trafficking and prostitution, respectively, 47 U.S.C.S. §
                                                              230(e)(5)(B)-(C). Because identical words and phrases
HN10[    ] Abuse of Children, Elements
                                                              within the same statute should normally be given the
In a sex trafficking beneficiary suit against a defendant-    same meaning, we assume that the conduct underlying
website, the most important component is the                  has the same meaning across the three provisions.
defendant-website's own conduct—its participation in
the venture, 18 U.S.C.S. § 1595(a). A complaint against
a website that merely alleges trafficking by the website's        Business & Corporate Compliance > ... > Computer
users—without the participation of the website—would              & Internet Law > Content
not survive. Proof that a user committed criminal                 Regulation > Communications Decency Act
trafficking may entitle a plaintiff to relief in a case
against the user, but not against the website.                    Governments > Legislation > Interpretation

                                                              HN13[ ] Content        Regulation,    Communications
                                                              Decency Act
    Communications Law > Federal
    Acts > Telecommunications Act > Communications
                                                              Because 47 U.S.C.S. § 230(B) and (C) authorize
    Decency Act
                                                              criminal prosecutions, there is good reason to think that
                                                              the conduct underlying the charge as used in (B) and
HN11[ ]         Telecommunications                    Act,
                                                              (C) refers only to the defendant's own conduct. Reading
Communications Decency Act
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criminal statutes, the appellate court presumes that           benefits, financially or by receiving anything of value,
Congress did not intend to dispense with a conventional        from participation in a venture which has engaged in a
mens rea element, which would require that the                 sex trafficking act, knowing that the person has not
defendant know the facts that make his conduct illegal.        attained the age of 18 years and will be caused to
Applying this principle here, the appellate court              engage in a commercial sex act. Participation in a
presumes subsection (B) permits states to prosecute            venture, in turn, is defined as knowingly assisting,
websites for trafficking only if the defendant knowingly       supporting, or facilitating sex trafficking activities, §
facilitated trafficking, in violation of 18 U.S.C.S. § 1591.   1591(e)(4). Accordingly, establishing criminal liability
And the appellate court presumes subsection (C)                requires that a defendant knowingly benefit from
permits states to prosecute websites for promoting or          knowingly participating in child sex trafficking.
facilitating prostitution only if the website intended to do
so, in violation of 18 U.S.C.S. § 2421A(a). In short, the
appellate court presumes these provisions authorize
                                                                   International Law > Individuals & Sovereign
criminal prosecutions only for a defendant's own crimes.
                                                                   States > Human Rights > Slavery
Because section 230(e)(5)(A) uses the same language,
the appellate court reads it to include the same               HN16[    ] Human Rights, Slavery
limitation. The statutory context reinforces the
conclusion that section 230(e)(5)(A) removes section           To hold a defendant criminally liable as a beneficiary of
230 immunity only when a website violates 18 U.S.C.S.          sex trafficking, the defendant must have actually
§1591.                                                         engaged in some aspect of the sex trafficking. To run
                                                               afoul of 18 U.S.C.S. § 1591, a defendant must
                                                               knowingly benefit from and knowingly assist, support, or
    Business & Corporate Compliance > ... > Computer           facilitate sex trafficking activities. Mere association with
    & Internet Law > Content                                   sex traffickers is insufficient absent some knowing
    Regulation > Communications Decency Act                    participation in the form of assistance, support, or
                                                               facilitation. The statute does not target those that merely
    Criminal Law & Procedure > ... > Sexual                    turn a blind eye to the source of their revenue. And
    Assault > Abuse of Children > Elements                     knowingly benefitting from participation in such a
                                                               venture requires actual knowledge and a causal
HN14[ ] Content         Regulation,     Communications         relationship between affirmative conduct furthering the
Decency Act                                                    sex-trafficking venture and receipt of a benefit.

The Allow States and Victims to Fight Online Sex
Trafficking Act of 2018 requires that a defendant-
                                                                   Business & Corporate Compliance > ... > Computer
website violate the criminal statute by directly sex
                                                                   & Internet Law > Content
trafficking or, with actual knowledge, assisting,
                                                                   Regulation > Communications Decency Act
supporting, or facilitating trafficking, for the immunity
exception to apply. As enacted, 47 U.S.C.S. §
                                                                   Criminal Law & Procedure > ... > Sexual
230(e)(5)(A) retains only a limited capacity to
                                                                   Assault > Abuse of Children > Elements
accomplish its original goal of allowing trafficking victims
to hold websites accountable. However, this is a flaw, or      HN17[ ] Content         Regulation,     Communications
perhaps a feature, that Congress wrote into the statute,       Decency Act
and is not one the appellate court can rewrite by judicial
fiat.                                                          Based on the law as written by Congress, civil plaintiffs
                                                               seeking to overcome 47 U.S.C.S. § 230 immunity for
                                                               sex trafficking claims must plead and prove that a
    Criminal Law & Procedure > ... > Sexual                    defendant-website's own conduct violated 18 U.S.C.S. §
    Assault > Abuse of Children > Elements                     1591. For claims based on beneficiary liability, this
                                                               requires that the defendant knowingly benefited from
HN15[    ] Abuse of Children, Elements                         knowingly facilitating sex trafficking.

18 U.S.C.S. § 1591 punishes anyone who knowingly               Summary:
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SUMMARY**                                                          Counsel: Krysta K. Pachman (argued), Davida Brook,
                                                                   and Halley W. Josephs, Susman
Communications Decency Act
                                                                   Godfrey L.L.P., Los Angeles, California; Arun
                                                                   Subramanian, Tamar E. Lusztig, and
Affirming the district court's dismissal of an action under
the federal civil sex trafficking statute, 18 U.S.C. § 1595,       Amy Gregory, Susman Godfrey L.L.P., New York, New
the panel held that § 230 of the Communications                    York; Steve Cohen and
Decency Act, 47 U.S.C. § 230(c)(1), shielded defendant
                                                                   Raphael Janove, Pollock Cohen LLP, New York, New
Reddit, Inc., from liability.
                                                                   York; for Plaintiffs-Appellants.
Users of Reddit, a social media platform, posted and               Theane Evangelis [*3] (argued), Michael H. Dore,
circulated sexually explicit images and videos of minors           Bradley J. Hamburger, and Matt A. Getz, Gibson Dunn
online. The victims, or their parents, sued Reddit                 & Crutcher LLP, Los Angeles, California; Kristin A.
pursuant to § 1595, the Trafficking Victims Protection             Linsley and Matthew N. Ball, Gibson Dunn & Crutcher
Reauthorization Act.                                               LLP, San Francisco, California; for Defendant-Appellee.
                                                                   Andrew J. Pincus, Mayer Brown LLP, Washington, D.C.;
The panel held that Reddit, an "interactive computer
                                                                   Avi M. Kupfer, Mayer Brown LLP, Chicago, Illinois; for
services" provider, generally enjoys immunity from
                                                                   Amici Curiae Chamber of Progress and Information
liability for user-posted content under § 230(c)(1).
                                                                   Technology and Innovation Foundation.
However, pursuant to the Allow States and Victims to
Fight Online Sex Trafficking Act of 2018 ("FOSTA"), §              Marci A. Hamilton, Alice Bohn, and Jessica Schidlow,
230 immunity does not apply to child sex trafficking               CHILD USA, Philadelphia, Pennsylvania; Andrew N.
claims if the conduct underlying the claim also violates           Chang, Esner Chang & Boyer, Pasadena, California; for
18 U.S.C. § 1591, the criminal child sex trafficking               Amicus Curiae Child USA.
statute.
                                                                   Judges: BEFORE: MILAN D. SMITH, JR. and RYAN D.
In Section II.A of its opinion, the panel held that the plain      NELSON, CIRCUIT JUDGES,and GERSHWIN A.
text of FOSTA, as well as precedent interpreting a                 DRAIN,* DISTRICT JUDGE. Opinion by Judge Milan D.
similar immunity exception under the Foreign                       Smith, Jr.; Partial Concurrence by Judge R. Nelson.
Sovereign [*2] Immunities Act, established that the
availability of FOSTA's immunity exception is contingent           Opinion by: Milan D. Smith, Jr.
upon a plaintiff proving that a defendant-website's own
conduct—rather than its users' conduct—resulted in a               Opinion
violation of 18 U.S.C. § 1591. In Section II.B, the panel
held that FOSTA's wider statutory context confirmed its
reading. In Section II.C, the panel held that its reading
                                                                   M. SMITH, Circuit Judge:
was also supported by the legislative history of FOSTA.
                                                                   Users of the social media platform Reddit posted and
The panel concluded that plaintiffs did not allege that
                                                                   circulated sexually explicit images and videos of minors
Reddit knowingly participated in or benefitted from a sex
                                                                   online. In response, the victims, or their parents, sued
trafficking venture, and they therefore failed to state a
                                                                   Reddit pursuant to 18 U.S.C. § 1595. The district court
sex trafficking claim.
                                                                   dismissed the claim, holding that section 230 of the
                                                                   Communications Decency Act (CDA), 47 U.S.C. §
Concurring in part, Judge R. Nelson joined the majority
                                                                   230(c)(1), shielded Reddit from liability.
opinion except those portions of Section II.C. that
discussed the legislative history of FOSTA. Judge R.
                                                                   Because Reddit is an "interactive computer
Nelson wrote that the panel need not and should not
                                                                   services" [*4] provider, it generally enjoys immunity
consider the legislative history since FOSTA's text was
                                                                   from liability for user-posted content under § 230(c)(1),
clear.


** This summary constitutes no part of the opinion of the court.   * The Honorable Gershwin A. Drain, United States District
It has been prepared by court staff for the convenience of the     Judge for the Eastern District of Michigan, sitting by
reader.                                                            designation.
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or "section 230 immunity." HN1[ ] However, pursuant            pornography because they generate controversy and
to the Allow States and Victims to Fight Online Sex            attract viewers. Indeed, third-party advertising tools
Trafficking Act of 2018 (FOSTA), section 230 immunity          have listed several subreddits dedicated to child
does not apply to child sex trafficking claims—if the          pornography as some of the most popular pages on the
"conduct underlying the claim" also violates 18 U.S.C. §       platform, which encourages advertisers to buy ad space
1591, the criminal child sex trafficking statute. 47 U.S.C.    on those pages. As such, the plaintiffs contend that
§ 230(e)(5)(A). The dispute in this case is whether the        Reddit financially benefits from openly hosting child
availability of FOSTA's immunity exception is contingent       pornography.
upon a plaintiff proving that a defendantwebsite's own
conduct—rather than its users' conduct—resulted in a           The plaintiffs further contend that, because it enjoys the
violation of 18 U.S.C. § 1591. We hold that it does, and       revenue generated by child pornography, Reddit has
we affirm.                                                     taken little action to block it from the platform. The
                                                               plaintiffs allege that Reddit does not adequately train its
                                                               moderators to screen and remove unlawful content and
FACTUAL AND PROCEDURAL BACKGROUND                              that some moderators post child pornography
                                                               themselves. Moreover, Reddit has not implemented
Reddit is a social media platform that allows users to         basic security measures, such as age verification or IP-
publicly post content. It is organized by small,               address tracking to ban repeat offenders, and it delayed
searchable forums devoted to specific topics, called           adoption of automated image-recognition technologies
subreddits. Reddit users create and moderate each              like "PhotoDNA," which can detect child pornography
subreddit, dictating the type of content users can post.       and prevent it from being posted.
In turn, Reddit employees can remove moderators,
content, or entire subreddits that do not conform to           Based on the foregoing, the plaintiffs filed a class-action
Reddit policies.                                               lawsuit against Reddit pursuant to the federal civil sex
                                                               trafficking statute, 18 U.S.C. § 1595, claiming that
The plaintiffs in this case are the parents of minors, and     Reddit is liable as a beneficiary [*7] of child sex
one former minor, who have had sexually explicit               trafficking, among other causes of action. Reddit filed a
images and videos of them posted to Reddit. Each               motion to dismiss for failure to state a claim, which the
plaintiff [*5] tells a similar story: after discovering        district court granted. The district court held that, to
explicit images or videos of their children (or                avoid section 230 immunity under FOSTA, the plaintiffs
themselves) posted to one or more subreddits, they             were required to plead that Reddit's own conduct
immediately reported the content to the subreddit              violated the criminal sex trafficking statute, 18 U.S.C. §
moderators and to Reddit employees. In response,               1591, and they failed to do so. Plaintiffs now appeal.
Reddit sometimes—though not always—removed the
content, only for it to be reposted shortly afterward. This
cycle repeated again and again across different                JURISDICTION AND STANDARD OF REVIEW
subreddits. Collectively, the plaintiffs contacted Reddit
hundreds of times to report the explicit posts.                HN2[ ] We have jurisdiction pursuant to 28 U.S.C. §
                                                               1291. We review a decision on a motion to dismiss for
The plaintiffs allege that the presence of child               failure to state a claim de novo. Gonzalez v. Google
pornography on Reddit is blatant, but Reddit has done          LLC, 2 F.4th 871, 885 (9th Cir. 2021). We take the
little to remove the unlawful content or prevent it from       allegations in the complaint as true and view them in the
being posted, because it drives user traffic and revenue.      light most favorable to the plaintiffs. Id.
As of April 2021, when this suit was filed, Reddit hosted
many subreddits that openly and explicitly marketed
themselves as fora for child pornography, with names           ANALYSIS
like          /r/BestofYoungNSFW,             r/teensdirtie,
/r/TeenBeauties, and /r/YoungGirlsGoneWild. Users
publicly "trade" and solicit child pornography on these        I
pages, and advocacy groups and the press have
repeatedly reported this activity to Reddit.                   At issue in this appeal is the scope of FOSTA's
                                                               exception to section 230 immunity for civil child sex
Plaintiffs allege that Reddit earns substantial advertising    trafficking claims. The answer to the question involves
revenue from subreddits [*6] that feature child
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several interrelated statutory provisions. To begin, HN3[         II
   ] pursuant to 47 U.S.C. § 230(c)(1), "[n]o provider or
user of an interactive computer service shall be treated          Both parties agree that section 230 immunity applies to
as the publisher or speaker of any information provided           the claims against Reddit. Reddit is an "interactive
by another information content provider." In general, this        computer service" provider as defined in § 230(f)(2) and
provision "immunizes providers of interactive computer            the plaintiffs' claims treat Reddit "as the publisher or
services against liability arising from content created by        speaker" of "information provided by another information
third parties." Fair Hous. Council of San Fernando                content provider." 47 U.S.C. § 230(c)(1). Accordingly,
Valley v. Roommates.Com, LLC, 521 F.3d 1157, 1162                 the parties focus their arguments on whether plaintiffs'
(9th Cir. 2008) (en banc) (cleaned [*8] up). In other             claims benefit from FOSTA's exception.
words, it "protects websites from liability for material
posted on the website by someone else." Doe v.                    The parties dispute whose conduct must have violated
Internet Brands, Inc., 824 F.3d 846, 850 (9th Cir. 2016).         18 U.S.C. §1591 for a website to be held liable in a civil
This     protection      is    "robust."   Carafano     v.        trafficking suit. Reddit argues that a website may only
Metrosplash.com, Inc., 339 F.3d 1119, 1123 (9th Cir.              be liable for its own criminal conduct. Plaintiffs argue
2003).                                                            that a website may be liable as a beneficiary when
                                                                  someone's conduct (likely a user's conduct) violated the
HN4[ ] In 2018, Congress amended section 230 by                   criminal statute and the claim against the website
passing FOSTA. Pub. L. No. 115-164, 132 Stat. 1253.               derives from that violation. District courts in our circuit
Among other things, FOSTA provides that section 230               are split on the issue. Compare J. B. v. G6 Hosp., LLC,
immunity does not apply to certain sex trafficking claims.        No. 19-CV-07848-HSG, 2021 U.S. Dist. LEXIS 170338,
Pursuant to 47 U.S.C. § 230(e)(5)(A), "[n]othing in               2021 WL 4079207, at *6 (N.D. Cal. Sept. 8, 2021)
[section 230] . . . shall be construed to impair or limit . . .   (holding defendant's own conduct must violate criminal
any claim in a civil action brought under section 1595 of         statute), [*10] M. L. v. Craigslist Inc.1, No. C19-6153
title 18, if the conduct underlying the claim constitutes a       BHS-TLF, 2020 U.S. Dist. LEXIS 166334, 2020 WL
violation of section 1591 of that title." In turn, this           5494903, at *4 (W.D. Wash. Sept. 11, 2020), and A.M.
provision of FOSTA incorporates two sections of the               v. Omegle.com, LLC, No. 3:21-CV-01674-MO, 2022
Trafficking Victims Protection Reauthorization Act                U.S. Dist. LEXIS 123695, 2022 WL 2713721, at *7 (D.
(TVPRA), 18 U.S.C. § 1589 et seq. First, section 1595             Or. July 13, 2022), with Doe v. Twitter, Inc., 555 F.
of the TVPRA provides a civil cause of action for                 Supp. 3d 889, 921 (N.D. Cal. 2021) (holding that the
violations of the federal trafficking laws. 18 U.S.C. §           remedial purpose of FOSTA supports a liberal
1595(a). It permits trafficking victims to sue the                construction of the immunity exception), and Doe v.
perpetrators of their trafficking as well as anyone who           Mindgeek USA Inc., 574 F. Supp. 3d 760, 773-74 (C.D.
"knowingly benefits . . . from participation in a venture         Cal. 2021). We have not had the opportunity to address
which that person knew or should have known" was                  the issue until now. HN7[ ] We hold that for a plaintiff
engaged in sex trafficking. Id.                                   to invoke FOSTA's immunity exception, she must
                                                                  plausibly allege that the website's own conduct violated
HN5[ ] Section 1591, on the other hand, is the federal            section 1591.
criminal child sex trafficking statute. Like section 1595,
section 1591 covers both perpetrators and beneficiaries
of trafficking. Id. § 1591(a). However, the standard for          A
beneficiary liability pursuant to section 1591 is higher: to
be held criminally liable as a beneficiary, a defendant           Both parties to the appeal claim that the text of FOSTA
must have actual knowledge [*9] of the trafficking and            is unambiguous. HN8[ ] Thus, we must first "determine
must "assist[], support[], or facilitat[e]" the trafficking       whether the language is clear and unambiguous, and if
venture. Id. § 1591(e)(4).                                        so, apply it as written." Thrifty Oil Co. v. Bank of Am.
                                                                  Nat. Tr. & Sav. Ass'n, 322 F.3d 1039, 1057 (9th Cir.
HN6[ ] In sum: websites are generally immune from                 2003). Accordingly, we commence our analysis by
liability for user-posted content, but that immunity does         considering the plain text of the statute. Ross v. Blake,
not cover civil child sex trafficking claims if the "conduct      578 U.S. 632, 638, 136 S. Ct. 1850, 195 L. Ed. 2d 117
underlying the claim" violates 18 U.S.C. §1591.                   (2016). Doing so, we conclude that the plain text of
                                                                  FOSTA and precedent interpreting a similar immunity
                                                                  exception establishes that a website can only be held
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liable if its own conduct—not a third party's—violates 18        "underlying" a claim are those most important to proving
U.S.C. §1591.                                                    the claim—is commonsense, and has logical import
                                                                 here.
HN9[ ] Section 230(e)(5)(A) reads as follows:
"[n]othing in [section 230] shall be construed to impair or      HN10[ ] In a sex trafficking beneficiary suit against a
limit [ ] any claim in a civil action brought under section      defendant-website, the most important component is the
1595 of Title 18, if the conduct underlying the claim            defendant-website's own conduct—its "participation in
constitutes a violation of section 1591 of that title. . . ."1   the venture." See 18 U.S.C. § 1595(a) (authorizing
47 U.S.C. § 230(e)(5)(A) (emphasis added). The                   lawsuits against those who "benefit[] . . . from
Supreme Court interpreted analogous language in a                participation in a [trafficking] venture"). A complaint
similar context in OBB Personenverkehr AG v. Sachs,              against a website that merely alleges trafficking by the
577 U.S. 27, 136 S. Ct. 390, 193 L. Ed. 2d 269 (2015).           website's users—without the participation of the
There, the Court considered the commercial [*11]                 website—would not survive. Proof that a user committed
activity exception to the Foreign Sovereign Immunities           criminal trafficking may "entitle a plaintiff to relief" in a
Act, which removes foreign states' sovereign immunity            case against the user, but not against the website.
in any action "based upon a commercial activity carried          Sachs, 577 U.S. at 33.
on in the United States." Id. at 29 (quoting 28 U.S.C. §
1605(a)(2)) (emphasis added). Sachs held that, to                The structure of the plaintiffs' complaint confirms how
ascertain the conduct that a claim is "based upon,"              central Reddit's conduct is to their case. Although the
courts should identify "those elements [of a claim] that, if     plaintiffs take the position that the conduct "underlying"
proven, would entitle a plaintiff to relief" and "the            their claim is the conduct of the Reddit users who
gravamen of the complaint." Id. at 33 (quoting Saudi             posted the offending images and videos, very little of
Arabia v. Nelson, 507 U.S. 349, 357, 113 S. Ct. 1471,            their complaint describes the trafficking conduct [*13]
123 L. Ed. 2d 47 (1993)). In that case, the plaintiff sued       itself. Rather, the complaint focuses on the facts critical
an Austrian railway after she was injured in an accident         to Reddit's liability—the ways that Reddit makes money
that occurred in Austria, but she purchased her rail             from permitting child pornography on its platform and
ticket in Massachusetts. Id. at 29-30. Because the               Reddit's responses to reports of that pornography.
gravamen of her claim—the accident and her injuries—             HN11[ ] Because we conclude that the "gravamen" of
occurred abroad, her claim was not "based upon"                  a section 1595 beneficiary claim is the defendant's
domestic activity, and the exception did not apply. Id. at       participation in and benefit from the trafficking scheme,
35.                                                              we hold that a defendant-website's own conduct must
                                                                 "underl[ie]" the claim for purposes of 47 U.S.C. §
We agree with Reddit that "underlying" and "based                230(e)(5)(A). As such, a website's own conduct must
upon" are analogous, so Sachs' interpretation is                 violate 18 U.S.C. § 1591 for the immunity exception to
instructive.   See     Underlying,     Merriam-Webster's         apply.
Collegiate Dictionary (11th ed. 2020) ("underlying"
means "basic" or "foundational"). Granted, the
"gravamen" inquiry in Sachs was fact-bound: the Court            B
considered the totality of plaintiff's allegations and
identified those most central to her lawsuit. Id. at 35-36.      To the extent doubt remains about the meaning of
In [*12] contrast, this appeal requires us to make a             section 230(e)(5)(A), FOSTA's wider statutory context
binary determination as a matter of law. But the basic           confirms our reading. See Niz-Chavez, 141 S. Ct. at
thrust of Sachs—that a claim is "based upon" its most            1482 (taking a "wider look at [the] statutory structure" to
important components, or in other words, the facts               confirm statutory meaning).

                                                                 HN12[ ] Alongside section 230(e)(5)(A), FOSTA added
                                                                 two other trafficking-related immunity exceptions to the
1 The parties agree that "the claim," as used in "the conduct
                                                                 CDA: sections 230(e)(5)(B) and (C). Those provisions
underlying the claim" refers to the "claim in a civil action     permit states to prosecute websites if "the conduct
brought under section 1595." We agree, given the proximate       underlying the charge" would violate 18 U.S.C. § 1591
uses of "claim" in the sentence, coupled with the definite
                                                                 or 18 U.S.C. § 2421A, which criminalize the facilitation
article "the." See Niz-Chavez v. Garland, 141 S. Ct. 1474,
                                                                 of child sex trafficking and prostitution, respectively. 47
1483, 209 L. Ed. 2d 433 (2021) (the use of a definite article
                                                                 U.S.C. § 230(e)(5)(B)-(C). Because "identical words and
with a singular noun speaks to a "discrete thing").
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phrases within the same statute should normally be            138 (codified at 47 U.S.C. § 230(a)(3)). But by the
given the same meaning," we assume that "the conduct          2010s, there was the growing sense that websites like
underlying" has the same meaning across [*14] the             Backpage.com were taking advantage of the immunity
three provisions. Powerex Corp. v. Reliant Energy             afforded by section 230 to facilitate online sex trafficking
Servs., Inc., 551 U.S. 224, 232, 127 S. Ct. 2411, 168 L.      and promote illegal pornography. 164 Cong. Rec.
Ed. 2d 112 (2007). This is "doubly appropriate" here, id.,    S1854 (daily ed. Mar. 21, 2018) (statement of Sen.
because the provisions are adjacent and were enacted          McCaskill).     A     congressional     investigation      of
simultaneously, see Lomax v. Ortiz-Marquez, 140 S. Ct.        Backpage.com revealed that minors were being
1721, 1725, 207 L. Ed. 2d 132 (2020).                         advertised for sex work on the platform and that
                                                              Backpage.com participated in the scheme by
HN13[ ] Because subsections (B) and (C) authorize             "affirmatively edit[ing] ads that it kn[ew] [we]re selling
criminal prosecutions, there is good reason to think that     children for sex" to avoid having to remove the ads from
"the conduct underlying the charge" as used in (B) and        the platform. Id. at S1851 (statement of Sen.
(C) refers only to the defendant's own conduct. Reading       Blumenthal).
criminal statutes, we "presume[] that Congress did not
intend to 'dispense with a conventional mens rea              Although section 230 as originally enacted did not
element, which would require that the defendant know          immunize websites [*16] like Backpage.com from
the facts that make his conduct illegal.'" United States v.   federal criminal sex trafficking laws, see 47 U.S.C. §
Collazo, 984 F.3d 1308, 1324 (9th Cir. 2021) (quoting         230(e)(1), it was unclear whether states could bring
Staples v. United States, 511 U.S. 600, 605, 114 S. Ct.       analogous prosecutions. Courts were also reluctant to
1793, 128 L. Ed. 2d 608 (1994)). Applying this principle      hold websites liable in any civil trafficking suits
here, we presume subsection (B) permits states to             stemming from user-posts, even if the website
prosecute websites for trafficking only if the defendant      participated in the scheme. See, e.g., Doe No. 1 v.
"knowingly" facilitated trafficking, in violation of 18       Backpage.com, LLC, 817 F.3d 12, 23 (1st Cir. 2016).
U.S.C. § 1591. See § 1591(e)(4). And we presume
subsection (C) permits states to prosecute websites for       Congress passed FOSTA in 2018 to address these
promoting or facilitating prostitution only if the website    issues. The purpose of the bill was "to give survivors
"inten[ded]" to do so, in violation of 18 U.S.C. §            their day in court . . . [and] open avenues of prosecution
2421A(a). In short, we presume these provisions               to law enforcement where they are currently
authorize criminal prosecutions only for a defendant's        roadblocked." 164 Cong. Rec. S1851 (daily ed. March
own crimes. Because section 230(e)(5)(A) uses the             21, 2018) (statement of Sen. Blumenthal); see 164
same language, we read it to include the same                 Cong. Rec. H1291 (daily ed. Feb. 27, 2018) (statement
limitation. See Powerex, 551 U.S. at 232. The statutory       of Rep. Jackson Lee) (noting that the bill would allow
context reinforces our conclusion that section                victims to hold accountable "online ad services and
230(e)(5)(A) removes section 230 immunity only when a         websites that facilitate or allow sex trafficking"). As first
website violates 18 U.S.C. §1591.                             introduced in the House, FOSTA simply stated that
                                                              section 230 did not "impair the enforcement of, or limit
                                                              availability of victim restitution or civil remedies under . .
C                                                             . civil laws relating to sexual exploitation of children or
                                                              sex trafficking." H.R. 1865, 115th Cong. § 3 (Apr. 3,
Although we conclude that the language [*15] and              2017). S. 1693, 115th Cong. § 3 (Aug. 1, 2017). This
structure of the statute resolves its meaning, FOSTA's        version of FOSTA would have created an
original legislative proponents' understanding about how      immunity [*17] exception for all section 1595 claims
FOSTA would be interpreted and applied once several           against websites.
amendments had been made to their original legislation
decidedly supports Reddit's interpretation.                   Opponents of the bill, however, were concerned that it
                                                              would "bring a deluge of frivolous litigation targeting
In 1996, Congress passed section 230 to promote               legitimate, law-abiding intermediaries" because it was
development of the internet's "vibrant and competitive        "unbounded by any actual knowledge" requirement. The
free market" and "diversity of political discourse, unique    Stop Enabling Sex Traffickers Act of 2017: Hearing on
opportunities for cultural development, and myriad            S. 1693 Before the S. Comm. on Com., Sci. & Transp.,
avenues for intellectual activity." Telecommunications        115th Cong. 35 (2017) (statement of Abigail Slater,
Act of 1996, Pub. L. No. 104-104, § 509, 110 Stat. 56,        General Counsel, Internet Association). These
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opponents suggested amendments to require "a clear              Accordingly, establishing criminal liability requires that a
sense of knowing," as to "not damage those who are              defendant      knowingly       benefit  from     knowingly
truly trying to grow and innovate based on that                 participating in child sex trafficking.
protection they get from lawsuits." Id. at 53 (statement of
Xavier Becerra, Attorney General of Cal.).                      HN16[ ] We agree with the reasoning of other courts to
                                                                address the issue that, to hold a defendant criminally
In response, the Senate altered the bill to its current         liable as a beneficiary of sex trafficking, the defendant
form to "eliminate section 230 as a defense for websites        must have actually "engaged in some aspect of the sex
that knowingly facilitate sex trafficking." S. Rep. No.         trafficking." See United States v. Afyare, 632 F. App'x
115-199, at 2 (2018) (emphasis added). As                       272, 286 (6th Cir. 2016); Noble v. Weinstein, 335 F.
reintroduced, the bill's "knowing standard" was intended        Supp. 3d 504, 524 (S.D.N.Y. 2018) (a plaintiff must
to create a "high bar" for liability. The Stop Enabling Sex     allege some "specific conduct [by the defendant] that
Traffickers Act of 2017, Hearing on S. 1693 Before the          furthered the sex trafficking venture . . . undertaken with
Comm. on Commerce, Sci., and Transp., 115 Cong. 9               knowledge" of the venture). To run afoul of § 1591, a
(2017). Indeed, Representative Ann Wagner, the House            defendant must knowingly benefit from and knowingly
bill's [*18] original sponsor, complained that the new          assist, support, or facilitate sex trafficking activities.
version so dramatically "narrowed" the immunity                 Mere association with sex traffickers is insufficient
exception and that "the 'knowingly' mens rea standard . .       absent some knowing "participation" in the form of
. w[ould] not provide operational recourse to justice for       assistance, [*20] support, or facilitation. See 18 U.S.C.
victims across the country and thus may not actually            § 1591(e)(4). The statute does not target those that
prevent future victimization." The Latest Developments          merely "turn a blind eye to the source of their [revenue]."
in Combating Online Sex Trafficking: Hearing Before the         Afyare, 632 F. App'x at 286. And knowingly benefitting
Subcomm. on Commc'ns & Tech. of the H. Comm. on                 from participation in such a venture requires actual
Energy & Com., 115th Cong. 4 n.7 (2018).                        knowledge and"a causal relationship between
                                                                affirmative conduct furthering the sex-trafficking venture
HN14[ ] On this record, it is clear that FOSTA requires         and receipt of a benefit." Geiss v. Weinstein Co.
that a defendant-website violate the criminal statute by        Holdings LLC, 383 F. Supp. 3d 156, 169 (S.D.N.Y.
directly sex trafficking or, with actual knowledge,             2019).
"assisting, supporting, or facilitating" trafficking, for the
immunity exception to apply. We agree with                      In this case, the plaintiffs have not alleged that Reddit
Representative Wagner that, as enacted, 47 U.S.C. §             knowingly participated in or benefitted from a sex
230(e)(5)(A) retains only a limited capacity to                 trafficking venture. They allege that Reddit provides a
accomplish its original goal of allowing trafficking victims    platform where it is easy to share child pornography,
to hold websites accountable. However, this is a flaw, or       highlights subreddits that feature child pornography to
perhaps a feature, that Congress wrote into the statute,        sell advertising on those pages, allows users who share
and is not one we can rewrite by judicial fiat.                 child pornography to serve as subreddit moderators,
                                                                and fails to remove child pornography even when users
                                                                report it, as the plaintiffs did in this case. Together, they
III                                                             say, this amounts to knowing participation in a sex
                                                                trafficking venture.
Having concluded that 47 U.S.C. § 230(e)(5)(A) requires
that a defendantwebsite's own conduct violate 18 U.S.C.         Taken as true, these allegations suggest only that
§ 1591, we must decide whether the plaintiffs have              Reddit "turned a blind eye" to the unlawful content
alleged that Reddit did so in this case. HN15[ ] Section        posted on its platform, not that it actively participated in
1591 punishes anyone [*19] who "knowingly . . .                 sex trafficking. See Afyare, 632 F. App'x at 286.
benefits, financially or by receiving anything of value,        Moreover, the plaintiffs have not alleged a connection
from participation in a venture which has engaged in [a         between the child pornography posted on Reddit [*21]
sex trafficking act], knowing . . . that the person has not     and the revenue Reddit generates, other than the fact
attained the age of 18 years and will be caused to              that Reddit makes money from advertising on all
engage in a commercial sex act . . ." 18 U.S.C. §               popular subreddits. See Noble, 335 F. Supp. 3d at 524
1591(a)(2). "Participation in a venture," in turn, is           (finding insufficient connection between general benefits
defined as "knowingly assisting, supporting, or                 defendant received from working for individual who
facilitating" sex trafficking activities. Id. § 1591(e)(4).     perpetrated sex trafficking and the perpetrator's conduct
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toward the victim). Plaintiffs who have successfully         discussion in Section II.C of statements from FOSTA's
alleged beneficiary liability for sex trafficking have       sponsor, supporters, and opponents, by contrast, fall
charged defendants with far more active forms of             squarely within legislative history that the panel need
participation than the plaintiffs allege here. See, e.g.,    not and should not consider since FOSTA's text is clear.
Canosa v. Ziff, No. 18 CIV. 4115 (PAE), 2019 U.S. Dist.      Thus, I would conclude our analysis without relying on
LEXIS 13263, 2019 WL 498865, at *23-24 (S.D.N.Y.             those statements.
Jan. 28, 2019) (denying motion to dismiss beneficiary
liability claims where plaintiffs alleged affiliates of
Harvey Weinstein lured victims "through the promise of         End of Document
production deals," provided Weinstein "medications he
required to perform sexual acts," and "cleaned up after
his sexual assaults"). As such, the plaintiffs have failed
to state a claim that Reddit violated 18 U.S.C. § 1591.


CONCLUSION

HN17[ ] We conclude, based on the law as written by
Congress, that civil plaintiffs seeking to overcome
section 230 immunity for sex trafficking claims must
plead and prove that a defendant-website's own conduct
violated 18 U.S.C. § 1591.

For claims based on beneficiary liability, this requires
that the defendant knowingly benefited from knowingly
facilitating [*22] sex trafficking. Because the plaintiffs
have not plead that Reddit has done so in this case, we
AFFIRM.

Concur by: R. NELSON (In Part)

Concur


R. NELSON, Circuit Judge, concurring in part:

I join the majority opinion except those portions of
Section II.C that discuss the legislative history of
FOSTA. The panel concludes that FOSTA is
unambiguous as to whose conduct triggers the
exception to Section 230 immunity. "When the statutory
language is unambiguous and the statutory scheme is
coherent and consistent, our inquiry comes to an end,
without any inquiry into legislative history." Hooks v.
Kitsap Tenant Support Servs., Inc., 816 F.3d 550, 562
(9th Cir. 2016). In my view, the discussion of proposed
amendments to FOSTA that were eventually enacted
supports the panel's holding that FOSTA's language is
unambiguous. Cf. Burlington Northern Santa Fe Ry. v.
Loos, 139 S. Ct. 893, 906, 203 L. Ed. 2d 160 (2019)
(Gorsuch, J., dissenting) (distinguishing "record of
enacted changes Congress made to the relevant
statutory text" from "unenacted legislative history"). The
